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FILED
U.S. DISTRICT COURT
» | | DISTRICT CF MARYLAND

REED 3 Mes DisTRICT COURT

FOR VRHEDPIRERICT OF MARYLAND

AT BALTIMORE
UNITED STATES OF AME -*
me AP~berury CRIMINAL NO. GLR- 13-030"
Vv. *
* (Theft of Government Property,
DANIELLE FAITH GORE , * 18 U.S.C. § 641; Aiding and
* Abetting, 18 U.S.C. § 2; Forfeiture
Defendant * Allegations)
*
*
RRRRREE
INDICTMENT
COUNT ONE

The Grand Jury for the District of Maryland charges that:
Introduction |

At all times relevant to the charges in this Indictment:

1. The Social Security Administration (“SSA”) was an agency of the United States
within the United States Government that administered programs under the Social Security Act,
Title 42, United States Code, Section 301, et seq. (“the Act”). These programs included Title II
Social Security Disability Insurance (“SSDI”), which paid monthly benefits to workers who
became disabled. A beneficiary’s entitlement to those benefits terminated upon death of the
beneficiary.

2. DANIELLE FAITH GORE (“GORE”) did not report her mother’s death to
SSA, and spent the monthly SSDI benefits deposited into ‘her mother’s account for nearly eleven
years after her mother’s death, resulting in a loss to the United States Government of

approximately $198,000.
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3, SSA conducted an audit in 2017 comparing its beneficiary rolls to the Maryland
Death Index, and determined that GORE’s mother, A.B., was likely deceased, but still receiving
SSD] payments via direct deposit of $1,601 per month.

4, On January 9, 2018, agents of the SSA Office of Inspector General went to the
address of record for A.B., and were met by GORE, who lives at the address, and who falsely
stated that her mother was alive, but in Philadelphia, Pennsylvania at the time.

5. On February 8, 2018, agents confirmed A.B.’s death by way ofa death certificate
issued by the State of Maryland, which named GORE as the informant.

6. Agents returned to GORE’s home on February 21, 2018 and spoke with her
again. GORE admitted that she spent the SSDI funds using an ATM card for which A.B. had
provided her the PIN before she died. GORE stated she no longer possessed ‘the card because
she destroyed it after her first interview with OJG agents.

The Charge

7. Between in or about July 2007 and in or about March 2018, in the District of

Maryland, the defendant,

DANIELLE FAITH GORE,
did embezzle, steal, purloin, and knowingly convert to her use and the use of another, any money
of the United States and any department and agency thereof, whose value exceeded $1,000,
namely Title I] SSD] benefits payments to which she was not entitled. |

18 U.S.C. § 641
i8 U.S.C. §2
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. As aresult of the offense set forth in Count One of the Indictment, the defendant,

DANIELLE FAITH GORE,

shall forfeit to the United States any and all property constituting, or derived from, proceeds

obtained directly or indirectly as a result of any such violation.

2. If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third person;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or,

has been commingled with other property which cannot be divided
without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

§ 2461(c), to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property, that is, $198,354,

18 U.S.C. § 981(a(IKO)

28 U.S.C. § 2461(c)

_ ATRUE BILL: _

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Robert K. Hur /
United States Attorney

 

SIGNATURE REDACTED

 

Date: — 7/2/78
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